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 1     COMPLAINT BY A PRISONER UNDER THE CIVIL RIGHTS ACT,42 U.S.C.§ 1983
                     Ramirez,                          Marco                             A.
 2   Name:
                       (Last)                              (First)                         (Middle Initial)
 3

     Prisoner Number:                   C25721
 4

     Institutional Address:             San Quentin State Prison, 2 West, 80 Low
 5
                                        San Quentin, CA 94974
 6

 7

 8                                    UNITED STATES DISTRICT COURT
                                                                                                    JUN 12 2m
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
       Marco Anthony Ramirez,
                                                                     )J
                                                                                            north DISTRICT OF cL^NW
11
     (Enter yourfiill name.)
                                                                     )|
                                VS.                                  )    Case No.
12                                                                   )    (Provided by the clerk uponfiling)
       Ron Davis, Warden, San Quentin
13                                                                        COMPLAINT UNDER THE
       Andy Crump, Chief Plant Manager                                    CIVIL RIGHTS ACT,
14                                                                        42 U.S.C.§ 1983
       Ron Chapman, Director, CDPH
15   (Enter thefull name(s) ofthe defendant(s) in this action.)

16

17   I. Exhaustion of Administrative Remedies.

18   Note: You must exhaust available administrative remedies before your claim can go
          forward. The court will dismiss any unexhausted claims.
19

20   A.    Place of present confinement            San Quentin State Prison
21   B.    Is there a grievance procedure in this institution?            YES              NO □
22   C.    If so, did you present the facts in your complaint for review through the grievance
23         procedure?           YES               NO □
24   D.    If your answer is YES, list the appeal number and the date and result of the appeal at each
25         level of review. If you did not pursue any available level of appeal, explain why.
26                1. Informal appeal:. CDCR Form ; 22 Dated 5/16/16.
                                       No response received by the Plaintiff.
27

28


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